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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


MARCOS RAYOS,
                                                              Case No. 1:15-cv-1153
               Plaintiff,
                                                              Hon. Paul L. Maloney
v.

WILLIE SMITH, et al.,

               Defendants.
                                     /

                             REPORT AND RECOMMENDATION

               This is a pro se civil rights action brought by a former state prisoner at a Michigan

Department of Corrections (MDOC) facility pursuant to 42 U.S.C. § 1983. One of the defendants

in this case, Lloyd Thurlby, died on July 16, 2018. Defendants filed a suggestion of death advising

the Court and plaintiff of that fact on August 1, 2018. See Notice of Suggestion of Death (ECF

No. 199). Fed. R. Civ. P. 25 (“Substitution of parties”) provides in pertinent part that:

               If a party dies and the claim is not extinguished, the court may order
       substitution of the proper party. A motion for substitution may be made by any
       party or by the decedent's successor or representative. If the motion is not made
       within 90 days after service of a statement noting the death, the action by or against
       the decedent must be dismissed.

Fed. R. Civ. P. 25(a)(1). The 90-day time frame for “any party or by the decedent’s successor or

representative” to file a motion for substitution has passed. Accordingly, plaintiff’s action against

the decedent, defendant Thurlby, must be dismissed.




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               III.   Recommendation

               For these reasons, I respectfully recommend that the decedent, defendant Thurlby,

be DISMISSED.


Dated: November 5, 2018                              /s/ Ray Kent
                                                     United States Magistrate Judge


ANY OBJECTIONS to this Report and Recommendation must be served and filed with the Clerk
of the Court within fourteen (14) days after service of the report. All objections and responses to
objections are governed by W.D. Mich. LCivR 72.3(b). Failure to serve and file written objections
within the specified time waives the right to appeal the District Court’s order. Thomas v. Arn, 474
U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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